    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 1 of 14



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA


P.B., by and through his next friend,                      )
Cassandra Berry, et al.,                                   )
                                                           )
                                  Plaintiffs,              )
                                                           )    Civil Case No. 2:10-cv-04049
         vs.                                               )    Section A
                                                           )    Judge Jay C. Zainey
PAUL PASTOREK, et al.,                                     )    Magistrate Judge Karen Wells Roby
                                                           )
                                  Defendants.              )
                                                           )



                            ORDER OF PRELIMINARY INJUNCTION

         Plaintiffs, pursuant to the Individuals with Disabilities Education Improvement Act of

2004 (“IDEA”), 20 U.S.C. § 1400 et seq., Section 504 of the Rehabilitation Act of 1973

(“Section 504”), 29 U.S.C. § 794, and Title II of the Americans with Disabilities Act (“Title II”),

42 U.S.C. § 12101, et seq., filed a Complaint for injunctive and other relief, and moved for a

preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure.

         The Court, having considered the pleadings, memoranda, declarations, and exhibits filed

in connection with the Plaintiffs’ motion, as well as argument of counsel and evidence presented

by the parties at evidentiary hearings held in connection with the motion, finds that:

    1.         This Court has jurisdiction of the subject matter of this case and over all named

               parties;

    2.         Venue lies properly with this Court;

    3.         Paul Pastorek, in his official capacity as the Louisiana State Superintendent of

               Education, the Louisiana Department of Education (“LDE”), and the Louisiana Board

               of Elementary and Secondary Education (“BESE”) (collectively, the “Defendants”)


                                                      1
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 2 of 14



             are responsible for ensuring that each local educational agency (“LEA”) in New

             Orleans is monitored for implementation and compliance with the requirements of the

             IDEA, Section 504, and Title II; that children with disabilities be identified and

             evaluated; that each student with a disability be provided access to all programs

             provided to non-disabled students; and that children with disabilities be afforded the

             procedural safeguards described by the IDEA when disciplinary action is

             contemplated.

    4.       Plaintiffs have established a likelihood of success on the merits of their IDEA,

             Section 504, and Title II claims by showing that:

             a.     Defendants have failed to ensure that children with disabilities in New

                    Orleans are identified and evaluated to determine their eligibility for services

                    and protection under the IDEA;

             b.     Due to Defendants’ lack of training and monitoring of LEAs, New Orleans

                    schools have failed to provide the disciplinary protections afforded to children

                    with disabilities under the IDEA; and

             c.     Due to the Defendants’ failures, Plaintiffs have been denied access to essential

                    services and programs available to non-disabled children because of their

                    disabilities.

    5.       Plaintiffs have established that they will be irreparably harmed in the absence of a

             preliminary injunction, that the balance of hardships favors a preliminary injunction,

             and that the public interest favors a preliminary injunction.




                                                   2
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 3 of 14



         IT IS THEREFORE ORDERED:

    New Orleans-based Compliance Officer

    1.       Within 60 days of the signing of this Order, Defendants must appoint a New Orleans-

             based Compliance Officer who must be charged with ensuring compliance with the

             terms of this order.

    2.       The Compliance Officer must supervise a staff of individuals who have expertise in

             data analysis and tracking, IDEA administration, and the requirements and procedures

             of the IDEA, Section 504, and Title II.

    3.       Within 90 days of the signing of this Order, the Compliance Officer must develop

             policies and procedures for comprehensive data tracking that will capture enrollment

             data from all public schools operating in New Orleans. Within 90 days of the signing

             of this Order, the Compliance Officer must develop a master list of all students who

             are enrolled in New Orleans public schools.

    4.       The Compliance Officer must ensure that each LEA reports the following data on a

             monthly basis:

             a.     The name of each student who is enrolled in each school;

             b.     The name of any student who has withdrawn or dis-enrolled from each school;

                    and

             c.     Data related to disciplinary school removals (i.e. suspensions and expulsions)

                    as described in paragraph 16 of this Order.

    5.       Within 90 days of the signing of this Order, the Compliance Officer must implement

             a data management system that tracks student enrollment across all New Orleans

             LEAs and automatically alerts the Compliance Officer if a student dis-enrolls from




                                                  3
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 4 of 14



             one LEA and does not subsequently re-enroll in another LEA within 14 days. Upon

             notification that the student has failed to re-enroll, the Compliance Officer must then

             investigate the student’s current address, and if the student still resides in New

             Orleans, the Compliance Officer must undertake all reasonable efforts to enroll the

             student in an LEA.

             a.     The data management system must also compile the name and address of each

                    New Orleans student with a disability that has an individualized education

                    program (“IEP”) pursuant to the IDEA, the type of disability of each student,

                    and the number of students with IEPs that dis-enroll from each school.

    Training

    6.       Within 60 days of the signing of this Order, LDE must develop a plan pursuant to

             which all New Orleans LEA and school administrators, teachers, and special

             education directors must attend an in-person mandatory technical assistance training

             session(s) to be held at each LEA or school within 120 days of the signing of this

             Order (“Technical Training”). At the Technical Training, LDE must explain, among

             other things as LDE deems necessary and appropriate, each LEA’s legal obligations

             towards children with disabilities under the IDEA, Section 504, Title II, and any

             relevant state and federal laws or regulations, including their legal obligations to

             enroll children with disabilities and to provide special education services to such

             children.

             a.     Prior to the Technical Training, LDE must develop a written training protocol

                    sufficient to show the substance of the Technical Training, which must be

                    provided to counsel for Plaintiffs no less than 10 business days prior to the




                                                   4
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 5 of 14



                    Technical Training. If counsel for Plaintiffs has any objections to the

                    proposed written training protocol, counsel must notify LDE no later than 5

                    business days prior to the Technical Training. If the parties cannot reach

                    agreement, counsel for Plaintiffs may object to the written training protocol by

                    order to show cause 3 business days prior to the Technical Training.

    7.       Within 120 days of the signing of this Order, LDE must hold an additional in-person

             training session for all New Orleans LEA special education directors and any other

             administrator, official, or teacher deemed appropriate by LDE (“Special Education

             Training”).

             a.     The curriculum for the Special Education Training must be developed by

                    LDE’s Office of Special Populations, and must utilize the Office of Special

                    Education Programs’ training materials and the “Primers” curriculum

                    developed by Special Education Technical Assistance for Charter Schools

                    Project (“SPEDTACS”).1 LDE personnel conducting the Special Education

                    Training must be trained by the SPEDTACS officials to ensure that such

                    personnel understand the SPEDTACS curriculum and are able to effectively

                    administer the Special Education Training.

             b.     Prior to the Special Education Training, LDE must develop a written training

                    protocol sufficient to show the substance of the Special Education Training,

                    which must be provided to counsel for Plaintiffs no less than 10 business days

                    prior to the Special Education Training. If counsel for Plaintiffs has any



1
 See National Association of State Directors of Special Education, Inc., Primers on Implementing Special
Education in Charter Schools, available at http://www.uscharterschools.org/cs/spedp/print/
uscs_docs/spedp/home.htm.



                                                   5
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 6 of 14



                    objections to the proposed written training protocol, counsel must notify LDE

                    no later than 5 business days prior to the Special Education Training. If the

                    parties cannot reach agreement, counsel for Plaintiffs may object to the

                    written training protocol by order to show cause 3 business days prior to the

                    Special Education Training.

             c.     If an LEA special education director does not attend the Special Education

                    Training, LDE must hold a replacement Special Education Training

                    (“Replacement Special Education Training”) within 15 days of the initial 120

                    day period. If an LEA special education director who missed the Special

                    Education Training does not attend the Replacement Special Education

                    Training, LDE must inform the Court and counsel for Plaintiffs in writing

                    within 7 days from the date of the Replacement Special Education Training.

    8.       LDE must make available to each LEA in New Orleans technical assistance experts

             who will assist New Orleans LEAs with questions, inquiries, and concerns about

             compliance with state and federal special education law (“Technical Assistance

             Team”). In developing the Technical Assistance Team, LDE must utilize the

             technical assistance model developed by the Office of Special Education Programs

             and the SPEDTACS Project.

    Access to Services and Programs Available to Non-Disabled Children

    9.       LDE must take the following measures, in addition to any other measure that LDE

             deems necessary and proper, to ensure that children with disabilities are provided

             equal access as that provided to children without disabilities to the facilities,

             programs, and services offered by each New Orleans LEA and that no LEA denies




                                                    6
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 7 of 14



             placement, discourages enrollment, or otherwise recommends that the LEA is not an

             appropriate placement due a child’s disability:

             a.     Within 90 days of the signing of this Order, LDE must require the highest

                    ranking official of each LEA to sign a notice that must inform the LEA that:

                    (i) it has a legal obligation to provide all necessary services and

                    accommodations to students with disabilities regardless of whether it currently

                    has such a program in place; (ii) it must accept applications from and enroll

                    children regardless of the child’s disabilities, the related services required by

                    the child’s disabilities, and the costs associated with their educational needs;

                    and (iii) it must not inform or suggest to the parent(s) of a child with

                    disabilities that the parent(s) should not apply to the LEA because the LEA

                    does not provide the services necessary for the child.

             b.     LDE must require the highest ranking official of each LEA to attend a

                    mandatory technical assistance training (“Highest Ranking Official

                    Training”), which must be held within 90 days of the signing of this Order.

                    At the Highest Ranking Official Training, LDE must explain, among other

                    things as LDE deems necessary and appropriate, each LEA’s and the

                    Defendants’ legal obligations towards children with disabilities under the

                    IDEA, Section 504, Title II, and any relevant state and federal laws or

                    regulations. If the highest ranking official of an LEA does not attend the

                    Highest Ranking Official Training, LDE must hold a replacement technical

                    assistance training (“Replacement Highest Ranking Official Training”) within

                    15 days of the original 90 day period. If the highest ranking official of an




                                                   7
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 8 of 14



                  LEA does not attend the Replacement Highest Ranking Official Training,

                  LDE must inform the Court and counsel for Plaintiffs in writing within 7 days

                  from the date of the Replacement Highest Ranking Official Training.

             c.   Within 90 days of the signing of this Order, LDE must inform each LEA that

                  if a parent inquires whether the LEA provides services for children with

                  disabilities, as required by the IDEA, Section 504, and Title II, and the LEA

                  does not provide the required services at the time of the inquiry, the LEA must

                  inform the parent verbally and in writing as follows: “We do not currently

                  have a program in place to accommodate your child’s disability. However,

                  you should not let that dissuade you from applying to our school. If your

                  child decides to attend our school, we will create the necessary program of

                  services and accommodations for your child, to ensure he or she can attend

                  our school.”

             d.   Within 90 days of the signing of this Order, LDE must establish a telephone

                  “hotline” designed to answer inquiries from New Orleans parents of children

                  with disabilities (“the Hotline”). The Hotline must be staffed during normal

                  business hours (Monday through Friday; 9 a.m. to 5 p.m.) with at least one

                  person who is qualified to answer the parents’ inquiries. During the open

                  application periods, the Hotline must be staffed with at least 3 such persons

                  during normal business hours. The Hotline must have a functioning voice

                  mail message system designed to receive messages left during non-business

                  hours. All messages left on the voice mail message system must promptly

                  receive a follow-up from the Compliance Officer. The Hotline staff must




                                               8
4713297v.3
    Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 9 of 14



                  record in an electronic database, among other things deemed necessary and

                  appropriate, the following: (i) the name and contact information of the person

                  making the inquiry; (ii) the nature of the inquiry, comment, or concern; (iii)

                  the date and time of the inquiry; (iv) whether any action should be taken by

                  the Compliance Officer to resolve the inquiry or concern; (v) the date, time,

                  and description of any follow-up action, if any; and (vi) whether the inquiry or

                  concern has been or will be resolved.

             e.   Within 90 days of the signing of this Order, LDE must send a notice, written

                  at the eighth-grade reading level, by first-class mail to every New Orleans

                  household with school-age children stating, among other things as deemed

                  necessary and appropriate, the following: (i) all New Orleans school-age

                  children have the right to apply to, enroll in, and attend New Orleans public

                  schools without regard to their disability; (ii) New Orleans schools cannot

                  persuade or advise parents not to apply to a school because the school lacks

                  the necessary services and accommodations required by a child’s disability;

                  (iii) parents of children with disabilities can contact the Hotline at a number

                  specified in the written notice if they have any questions regarding enrollment

                  or Defendants’ obligations to provide services to children with disabilities;

                  (iv) parents of children with disabilities can also contact Plaintiffs’ counsel at

                  a number specified in the written notice if they have questions regarding

                  enrollment or Defendants’ obligations to provide services to children with

                  disabilities.




                                                 9
4713297v.3
   Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 10 of 14



             f.      LDE must attach the written notice specified in section 9(e) to the Common

                     Application Form.

             g.      Within 60 days of the signing of this order, LDE must develop a plan to

                     distribute the notice specified in section 9(e), which must include

                     dissemination of the notice in New Orleans newspapers, radio stations, and

                     billboards. LDE must provide Plaintiffs’ counsel a copy of this plan prior to

                     any implementation.

    Centralized Admissions Process

    10.      Within 120 days after the signing of this Order, LDE must develop and maintain a

             centralized admissions process, and LDE must assume responsibility for the

             enrollment and placement of all New Orleans school-age children.

    11.      LDE must require each LEA to utilize a uniform standard application and uniform

             application deadlines, and must be the sole recipient of applications for New Orleans

             LEAs. Within 120 days of the signing of this order, LDE must submit to the Court

             and Plaintiffs’ counsel a plan for admissions procedures that: (i) provides students

             with disabilities with meaningful school choice; and (ii) prohibits schools from

             refusing to enroll students on the basis of their disabilities. If Plaintiffs’ counsel has

             any objections to the admissions plan, counsel must notify LDE no later than 15

             business days after the receipt of such plan. If the parties cannot reach agreement,

             counsel for Plaintiffs may object to the admissions plan by order to show cause.

    Child Find Mandate

    12.      LDE must take the following measures, among others deemed necessary and

             appropriate, to identify and evaluate children with disabilities:




                                                   10
4713297v.3
   Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 11 of 14



             a.          Within 60 days of the signing of this Order, formulate a pamphlet, written at

                         the eighth-grade reading level, describing the rights of children with

                         disabilities under state and federal special education law, which must be

                         included with the recruiting materials and applications of each New Orleans

                         school;

             b.          Within 120 days of the signing of this Order, complete a review of the policies

                         and procedures of each LEA concerning Section 504 Individualized

                         Accommodation Plans (“504 Plans”) to determine whether an LEA is

                         inappropriately utilizing 504 Plans as an alternative, rather than a supplement,

                         to the requirements of the IDEA. If LDE discovers that an LEA is utilizing

                         504 Plans in lieu of the requirements of the IDEA for children with

                         disabilities, LDE must review all 504 Plans developed at that LEA, and

                         determine whether these students should be referred for an evaluation to

                         determine eligibility under the IDEA.

             c.          Within 120 days of the signing of this Order, determine whether each LEA is

                         properly implementing a Response to Intervention program as described by

                         Louisiana Bulletin 1508.

             d.          Within 120 days of the signing of this Order, review records of all students

                         meeting the following criteria:

                    i.             Students in grades 1 to 3 who have been retained one grade;

                  ii.              Students in grades 4 to 12 who have been retained two grades;

                  iii.             Students who have been suspended more than 3 times in a single

                                   school year or for more than 10 days in a single school year;




                                                        11
4713297v.3
   Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 12 of 14



                  iv.          Students who have been recommended for expulsion; or

                  v.           Students who have scored “Unsatisfactory” on two or more LEAP, I-

                               LEAP, or GEE exams.

                        For all students who meet this criteria, LDE must require that the LEA

                        attended by the student convene the School Building Level Committee

                        pursuant to Louisiana Bulletin 1508 to determine if the student should be

                        referred for an initial evaluation to determine eligibility under the IDEA. If

                        the student is referred for an initial evaluation, the evaluation by the LEA

                        must be conducted within 60 days of the date of parental consent.

    Discipline

    13.      Within 60 days of the date of the signing of this Order, LDE must review all New

             Orleans LEA student codes of conduct and ensure that the disciplinary provisions in

             the student code of conduct do not violate the procedural safeguards guaranteed to

             students with disabilities by state and federal law.

    14.      Within 30 days of a finding by LDE that a student code of conduct violates state or

             federal law, LDE must ensure that the student code of conduct is re-written in a

             manner consistent with the requirements of state and federal law.

    15.      Within 60 days of the signing of this Order, LDE must provide remedial training to

             any LEA found to have a code of conduct contrary to state and federal law.

    16.      Within 60 days of the signing of this Order, LDE must track the rate and number of

             students with disabilities who are disciplined at each LEA, regardless of the number

             of students with disabilities at each LEA. LDE must release this data at the end of

             each fall and spring semester. Data must consist of rates of in-school suspensions,




                                                     12
4713297v.3
   Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 13 of 14



             out-of-school suspensions, expulsions, transfers (both involuntary and voluntary) to

             alternative schools, withdrawals (both voluntary and involuntary) from the school,

             and school-initiated arrests. If the discipline rate of students with disabilities exceeds

             that of students without any identified disabilities in a single semester, LDE must

             notify the LEA and counsel for Plaintiffs of the disproportionality.

    17.      If LDE find that an LEA is not in compliance with the procedural safeguards

             regarding discipline guaranteed by state and federal laws, LDE must train the

             administrators at the LEA on the topics of conducting functional behavioral

             assessments, writing effective behavioral intervention plans, conducting appropriate

             Manifestation Determination Reviews, and reviewing IDEA’s basic rules regarding

             when disciplinary actions constitute removals. After training, LDE must monitor the

             LEA by reviewing random instances of disciplinary action against students with

             disabilities, and ensuring that such students received functional behavioral

             assessments, behavior intervention plans, and properly administered Manifestation

             Determination Reviews.

    18.      Within 120 days of the signing of this order, LDE must develop a plan for reducing

             the rate of suspensions, expulsions and school removals in New Orleans public

             schools by 20 percent. If counsel for Plaintiffs has any objections to the plan to

             reduce the rate of suspensions, expulsions, and school removals, counsel must notify

             LDE no later than 15 business days after the receipt of such plan. If the parties

             cannot reach agreement, counsel for Plaintiffs may object to the plan to reduce

             suspensions, expulsions, and school removals by order to show cause.




                                                   13
4713297v.3
   Case 2:10-cv-04049-JCZ-KWR Document 84-13 Filed 04/26/11 Page 14 of 14



        IT IS FURTHER ORDERED that Defendants, within 5 days of the signing of this

Order, must serve a copy of this Order by facsimile transmission, personal or overnight delivery,

or U.S. Mail on all LEAs and schools in New Orleans.

        IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for

all purposes.



SO ORDERED, this _____ day of ____________, 2011.




                                                    ____________________________________
                                                    Honorable Judge Jay C. Zainey
                                                    United States District Court




                                               14
4713297v.3
